316 F.2d 239
    INTERNATIONAL UNION, UNITED AUTOMOBILE, AIRCRAFT &amp; AGRICULTURAL IMPLEMENT WORKERS OF AMERICA, UAW, AFL-CIO, and Its Local No. 840, Petitioners,v.NATIONAL LABOR RELATIONS BOARD and Piasecki Aircraft Corporation.
    No. 14135.
    United States Court of Appeals Third Circuit.
    Argued April 1, 1963.
    Decided April 26, 1963.
    
      Petition for review of an order of the National Labor Relations Board.
      Lowell Goerlich, Washington, D. C. (Ernest S. Wilson, Jr., Wilmington, Del., Harold A. Cranefield, Detroit, Mich., on the brief), for petitioners UAW-AFL-CIO and its Local 840.
      Standau E. Weinbrecht, NLRB, Washington, D. C. (Stuart Rothman, Gen. Counsel, Dominick L. Manoli, Assoc. Gen. Counsel, Marcel Mallet-Prevost, Asst. Gen. Counsel, Allison W. Brown, Jr., Attys., National Labor Relations Board, on the brief), for respondent N.L.R.B.
      Robert H. Kleeb, Philadelphia, Pa. (Morgan, Lewis &amp; Bockius, Crumlish &amp; Kania, Philadelphia, Pa., of counsel; Arthur J. Kania, Robert P. Garbarino, Philadelphia, Pa., on the brief), for Piasecki Aircraft Corp., the employer.
      Before BIGGS, Chief Judge,* and McLAUGHLIN and STALEY, Circuit Judges.
      PER CURIAM.
    
    
      1
      Petitioners here seek to have set aside the National Labor Relations Board order which denies a motion for back pay proceedings and other relief.
    
    
      2
      Our study of the record and consideration of arguments on behalf of the parties satisfies us that there is no error in the course the Board followed in this matter. The Union was allowed every opportunity to present its views on the question of compliance and in disapproval of the settlement. The settlement agreement is in substantial accord with the provisions of the decree in our No. 12,912. The petition before us is clearly ancillary to that cause. There has been no abuse of discretion by the Board in working out the settlement of the obligations under our decree. In its settlement of the problems presented, the Board reached an admirable, practical result under all of the difficult circumstances. See Piasecki Aircraft Corporation v. National Labor Relations Board, No. 12,912. (International Union, etc., et al. v. National Labor Relations Board) 280 F.2d 575 (3 Cir. 1960).
    
    
      3
      The petition will be denied.
    
    
      
        Notes:
      
      
        *
         Chief Judge Biggs took no part in the decision of this case
      
    
    